        CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 1 of 14



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MINNESOTA



Target Corporation, a Minnesota eorporation,

                     Plaintiff,                      Case No.

      V.
                                                                  COMPLAINT
ACE Ameriean Insuranee Company, a
Pennsylvania corporation, and ACE Property &               JURY TRIAL DEMANDED
Casualty Insurance Co., a Pennsylvania
corporation

                     Defendant.


           Plaintiff Target Corporation (“Target”), for its Complaint against Defendants ACE

  American Insurance Company and ACE Property & Casualty Insurance Co. (collectively,

  “ACE”), states and alleges as follows:

                                      INTRODUCTION

           1.    This is a civil action for breach of contract and declaratory relief.    In

  December 2013, Target discovered that a hacker had installed malicious software on its

  computer network (“Data Breach”). The Data Breach enabled the attacker to steal payment

  card data and personal contact information, thus rendering the related physical payment

  cards unusable.     As a result, numerous banks were required to dedicate substantial

  resources to cancelling and reissuing physical payment cards. These costs include, for

  example, the cost of producing the plastic card, mailing the card to consumers, and
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 2 of 14



otherwise reissuing the physieal card. Those banks subsequently sued Target for their

losses, including the losses directly caused by the replacement of the physical cards. Target

was able to settle all of the claims, including the claim for the replacement of physical

payment cards.

       2.       ACE insures Target against such settlements under a general liability policy

that provides coverage for losses because of property damage, defined to include “loss of

use of tangible property that is not physically injured.” That is precisely this case. Target

was held liable for the loss of use of plastic payment cards that were not physically injured.

       3.       Target provided notice to ACE and has provided detailed accounting of this

loss. Despite the clear existence of coverage, ACE nevertheless denied the claim and has

refused to pay it.

       4.       This action is necessary because Defendant has denied coverage for these

losses. Plaintiff seeks declaratory relief, compensatory damages, and other relief that may

be available.

                                          PARTIES

       5.       Target is a corporation organized and existing under the laws of the state of

Minnesota with its principal place of business in Minneapolis, Minnesota.

       6.       Upon information and belief, Defendant ACE American Insurance Company

is a corporation organized and existing under the laws of the state of Pennsylvania with its

principal place of business in Philadelphia, Pennsylvania, and is in the business of

providing liability insurance.
         CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 3 of 14



          7.    Upon information and belief, Defendant ACE Property & Casualty Insurance

Co. is a corporation organized and existing under the laws of the state of Pennsylvania with

its principal place of business in Philadelphia, Pennsylvania, and is in the business of

providing liability insurance.



                             JURISDICTION AND VENUE

          8.    This Court has jurisdiction over the subject matter pursuant to 28 U.S.C.

§ 1332(a)(2), in that the action is between a citizen of Minnesota and citizens of a foreign

state, and the amount in controversy exceeds the sum of $75,000, exclusive of interest and

costs.

          9.    This Court has jurisdiction over the person of ACE American Insurance

Company, in that at all times relevant, it has engaged in business activities within the state

of Minnesota and has otherwise purposefully availed itself of this jurisdiction.

          10.   This Court has jurisdiction over the person of ACE Property & Casualty

Insurance Co., in that at all times relevant, it has engaged in business activities within the

state of Minnesota and has otherwise purposefully availed itself of this jurisdiction.

          11.   Venue is proper in the United States District Court for the District of

Minnesota pursuant to 28 U.S.C. § 1391(a)(2) because a substantial part of the transactions,

acts, and/or omissions giving rise to the causes of action asserted herein occurred within

the state of Minnesota.
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 4 of 14



       12.    An actual justiciable controversy between Target and ACE exists within the

meaning of 28 U.S.C. § 2201 regarding whether ACE has a duty to indemnify Target with

respect to the claims described below.

              GENERAL LIABILITY POLICIES SOLD TO TARGET

       13.    ACE issued two general liability policies to Target eovering this loss

(eolleetively, the “ACE Polieies”).

       14.    ACE issued a general liability poliey bearing policy number G27017381 to

Target for the poliey period February 1, 2013, to February 1, 2014 (the “Primary Poliey”).

A true and correct copy of the Primary Policy is attached as Exhibit A.

       15.    The Primary Policy provides broad coverage for liability claims brought

against Target relating to its operations. The insuring clause states:

              We will pay the insured for the “ultimate net loss” in excess of
              the “retained limif ’ because of “bodily injury” or “property
              damage” to whieh this insurance applies.

       16.    The Primary Poliey defines “property damage” to mean:

              a. Physieal injury to tangible property, ineluding all resulting
              loss of use of that property. All such loss of use shall be
              deemed to oeeur at the time of the physieal injury that eaused
              it; or

              b. Loss of use of tangible property that is not physically
              injured. All sueh loss of use shall be deemed to oeeur at the
              time of the “oecurrence” that eaused it.”

       17.    The Primary Poliey has a $4.5 million per-oeeurrenee limit of liability, with

eaeh oceurrenee subjeet to a retained limit of $500,000, and a total general aggregate limit

of $50 million.
        CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 5 of 14



         18.   Target purchased layers of excess liability insurance above the Primary

Policy. The first two layers of excess insurance, each with a $25 million limit of liability,

were issued by National Union Fire Insurance Company of Pittsburgh, Pa., bearing policy

number 20562027, and by XL Insurance America, Inc., bearing policy number

US00064829LI13A.

         19.   In addition, ACE issued a third-layer excess general liability policy bearing

policy number G27048985 to Target for the policy period February 1, 2013 to February 1,

2014 (the “Excess Policy”). A true and correct copy of the ACE Excess Policy is attached

as Exhibit B. The Excess Policy also has a $25 million limit of liability.

         20.   The Excess Policy provides similarly broad coverage for liability claims

brought against Target relating to its operations. The insuring agreement states, in pertinent

part:

               We will pay, on your behalf, “loss” arising out of an
               “occurrence” but only after all “underlying insurance” has
               been exhausted by the payment of the limits of such insurance
               for covered injury or damage that takes place during our
               policy period.

         21.   The Excess Policy defines “loss” to mean:

               [T]he amount paid or payable in cash in the settlement or
               satisfaction of claims or suits for which the insured is liable,
               either by adjudication or compromise with our written consent,
               after making proper deduction for all recoveries and
               salvages. . . .

         22.   The Excess Policy defines “occurrence” as follows:

               “Occurrence” in this policy will follow the definition of
               “occurrence” as defined in the first policy of “underlying
               insurance” in effect as of the inception date of this policy.
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 6 of 14



       23.    The first policy of underlying insurance is the National Union Policy

described above. That policy defines “occurrence” to mean “an accident. . . which results

in . . . Property Damage neither expected nor intended from the standpoint of the Insured.”

That policy further defines Property Damage, in pertinent part, as “[l]oss of use of tangible

property that is not physically injured.”

       24.    The Excess Policy has a $25 million per-occurrence limit of liability, which

attaches in excess of two underlying insurance policies with limits of $25 million each.

       25.    The policies of insurance underlying the Excess Policy have been exhausted.

                                     DISPUTED CLAIMS

       26.    In December 2013, Target discovered that a hacker had installed malicious

software on its computer network, resulting in the Data Breach. The Data Breach enabled

the attacker to steal payment card data and personal contact information for millions of

Target customers, exposing those customers to the risk of fraudulent transactions on their

payment card accounts. Once alerted to the Data Breach, Target promptly contained the

attack and notified its customers.

       27.    Target also faced claims from third parties based on the Data Breach. These

included claims by payment card networks; claims by financial institutions; and claims by

consumers.

       28.    Several of the financial institutions that issued payment cards affected by the

breach (“Issuing Banks”) filed class action lawsuits against Target, which were

consolidated, along with various consumer suits, before Judge Paul Magnuson in the

United States District Court for the District of Minnesota, in In re: Target Corporation
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 7 of 14



Customer Data Sec. Breach Litig., All Financial Institutions Cases, MDL No. 14-2522

(“Issuing Banks Litigation”).

       29.    In the Issuing Banks Litigation, the class members alleged damages resulting

from the cost of replacing payment cards that had been potentially compromised as a result

of the Breach. The Issuing Banks claimed that, as a result of the Data Breach, the physical

payment cards associated with compromised accounts could no longer be used. They

further claimed that, as a result of the Data Breach, they were forced to dedicate significant

resources to cancelling and reissuing these physical payment cards. The Issuing Banks

also sought damages for the cost of credit card fraud arising out of the Data Breach that

was perpetrated on particular customers, for which Target does not seek indemnity from

ACE in this action.

       30.    In May 2016, Target reached a settlement in the class action lawsuit brought

on behalf of a class of Issuing Banks for approximately $58 million, which the district court

approved.

       31.    In addition to settling the class action litigation. Target reached confidential

settlements with the major card issuers, including Visa, MasterCard, American Express,

and Discover (the “Card Brands”), as well as numerous individual Issuing Banks.

       32.    In total. Target settled all of these claims for approximately $138 million, of

which approximately $118 million was paid to the Issuing Banks. The remaining $20

million was paid in attorneys’ fees and class representative payments.
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 8 of 14



       33.    At least $74 million of this payment was made to settle the Issuing Banks’

claims for the costs associated with replacing payment cards that they alleged had been

compromised as a result of the Data Breach (the “Payment Card Claims”).

       34.    The above losses represent a subset of Target’s total losses related to the Data

Breach. While some of Target’s losses related to the Data Breach were paid for or

reimbursed by insurers, none of the Payment Card Claims at issue in this litigation were

reimbursed by, paid by, or otherwise satisfied by insurers.

                   ACE’S WRONGFUL DENIAL OF COVERAGE

       35.    On January 14, 2014, promptly after the filing of the Issuing Banks

Litigation, pursuant to and in accordance with the terms and conditions of the ACE Policy,

Target provided notice to ACE of liability claims made against Target in the Issuing Banks

Litigation, ineluding the claims for the costs associated with replacing payment cards that

had been potentially compromised as a result of the Data Breach.

       36.    The Issuing Banks Litigation sought damages for, among other things, loss

of use of tangible property (i.e., physical plastic payment cards) that, while not physically

injured, could not be used without risk to the customer and the bank.

       37.    The elaims made by the Card Brands and Issuing Banks sought damages for

the loss of use of tangible property (i.e., physical plastic payment cards) that, while not

physically injured, were not able to be used without risk to the customer and the bank.

       38.    These elaims are squarely within the definition and scope of the ACE

Policies and are not otherwise excluded by the ACE Policies.

       39.    On Mareh 24, 2014, ACE denied coverage for the Payment Card Claims.
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 9 of 14



       40.     Beginning in 2014, Target has communieated both orally and in writing with

ACE, explaining in detail why the Payment Card Claims are, in fact, covered under the

terms of the ACE Policy, and has requested that ACE withdraw its written denials of

coverage and indemnify Target for its settlement payments with respect to the Payment

Card Claims.

       41.     ACE has refused to acknowledge coverage for the Payment Card Claims and

has further disregarded its contractual obligation to indemnify Target for the settlement

payments relating to the Payment Card Claims. ACE has improperly refused to indemnify

Target for settlement payments falling within its aggregate coverage layer.

       42.     Because Target’s covered settlement payments are sufficient to exhaust

Target’s retained limit and the ACE Policy’s general aggregate limit, and because ACE has

refused to indemnify Target for such costs, this matter is ripe for adjudication.

                         COUNT I
      DECLARATORY JUDGMENT AS TO THE ACE PRIMARY POLICY

       43.     Target restates and realleges the facts and allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       44.     There is a genuine and bona fide dispute and an actual controversy and

disagreement between Target and ACE regarding whether ACE has a duty to indemnify

Target for the Payment Card Claims.

       45.     Target has fully complied with all of the terms and conditions of the Primary

Policy relating to the Payment Card Claims and all other claims tendered to ACE.
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 10 of 14



       46.    ACE has improperly denied coverage for the Payment Card Claims, which

are covered under the Primary Policy, and has improperly refused to indemnify Target for

settlement payments relating to the Payment Card Claims.

       47.    Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2201, Target requests that the Court issue a judicial declaration that the Payment Card

Claims are covered under the Primary Policy, and that ACE was and is obligated to

indemnify Target for settlement payments relating to the Payment Card Claims within

ACE’s aggregate coverage layer.

                              COUNT II
             BREACH OF CONTRACT OF THE ACE PRIMARY POLICY

       48.     Target restates and realleges the facts and allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       49.     Target has fully complied with all of the terms and conditions of the Primary

Policy relating to the Payment Card Claims and all other claims tendered to ACE.

       50.     ACE has refused and continues to refuse to indemnify Target for settlement

payments relating to the Payment Card Claims. ACE’s refusal to indemnify Target with

respect to such settlement payments constitutes a breach of the Primary Policy.

       51.     ACE’s breach has proximately caused Target harm for which Target is

entitled to damages exceeding $75,000.

                                        COUNT III
       DECLARATORY JUDGMENT AS TO THE ACE EXCESS POLICY
       52.     Target restates and realleges the facts and allegations set forth in the

foregoing paragraphs as if fully set forth herein.


                                              10
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 11 of 14



       53.    There is a genuine and bona fide dispute and an actual controversy and

disagreement between Target and ACE regarding whether ACE has a duty to indemnify

Target for the Payment Card Claims.

       54.    Target has fully complied with all of the terms and conditions of the Excess

Policy relating to the Payment Card Claims and all other claims tendered to ACE.

       55.    ACE has improperly denied coverage for the Payment Card Claims, which

are covered under the Excess Policy, and has improperly refused to indemnify Target for

settlement payments relating to the Payment Card Claims.

       56.    Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

2201, Target requests that the Court issue a judicial declaration that the Payment Card

Claims are covered under the Excess Policy, and that ACE was and is obligated to

indemnify Target for settlement payments relating to the Payment Card Claims within

ACE’s aggregate coverage layer.

                                        COUNT IV
             BREACH OF CONTRACT OF THE ACE EXCESS POLICY
       57.    Target restates and realleges the facts and allegations set forth in the

foregoing paragraphs as if fully set forth herein.

       58.    Target has fully complied with all of the terms and conditions of the Excess

Policy relating to the Payment Card Claims and all other claims tendered to ACE.

       59.    ACE has refused and continues to refuse to indemnify Target for settlement

payments relating to the Payment Card Claims. ACE’s refusal to indemnify Target with

respect to such settlement payments constitutes a breach of the Excess Policy.



                                              11
     CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 12 of 14



          60.   ACE’s breach has proximately caused Target harm for which Target is

entitled to damages exceeding $75,000.

                                 PRAYER FOR RELIEF

          WHEREFORE, Target respectfully prays for relief as follows:

          1.    That the Court declare that the Payment Card Claims are covered under the

Primary Policy, and that ACE was and is obligated to indemnify Target for settlement

payments relating to the Payment Card Claims that were incurred within the Primary

Policy’s aggregate coverage layer;

          2.    That the Court declare that the Payment Card Claims are covered under the

Primary Policy, and that settlement payments relating to the Payment Card Claims do

properly exhaust Target’s retained limit;

          3.    That the Court declare that the Payment Card Claims are covered under the

Excess Policy, and that ACE was and is obligated to indemnify Target for settlement

payments relating to the Payment Card Claims that were incurred within the Excess

Policy’s aggregate coverage layer;

          4.    That the Court declare that the Payment Card Claims are covered under the

Excess Policy, and that the settlement payments relating to the Payment Card Claims do

properly exhaust the aggregate limits of the policies underlying the Excess Policy;

          5.    That the Court enter a judgment against ACE for the settlement payments

relating to the Payment Card Claims that were incurred in ACE’s aggregate coverage

layers;

          6.    Prejudgment interest at the maximum legal rate;


                                             12
    CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 13 of 14



       7.     Special and incidental damages resulting from ACE’s breach of contract in

an amount to be determined at trial;

       8.    Attorney’s fees, costs, and disbursements incurred in obtaining the benefits

due under the ACE Policies;

       9.    Interest on such attorney’s fees, costs, and disbursements; and

       10.    That the Court award such other relief as the Court may deem to be just, fair.

and equitable under the circumstances of this case.

Dated: November 15, 2019                          Respectfullysubmitted.


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                                             13
CASE 0:19-cv-02916-WMW-DTS Document 1 Filed 11/15/19 Page 14 of 14



                          JURY TRIAL DEMAND

 Target Corporation hereby demands a jury trial on all issues so triable.

 Dated: November 15, 2019           Respectfully submitted,




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                                       14
